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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA,                   )
                                            )
              v.                            )                CRIMINAL NO. 16-10343-ADB
                                            )
SUNRISE LEE                                 )
           Defendant.                       )


    MOTION FOR A COPY OF DECLARATION IN SUPPORT OF SUNRISE LEE’S
                  MOTION TO CONTINUE SENTENCING

        The United States respectfully requests a copy of the Declaration in support of Sunrise

Lee’s Motion to Continue Sentencing. The government did not want to burden the Court with this

request and tried unsuccessfully to obtain the document without the Court’s involvement. The

document has been filed ex parte. As far as the government is aware, however, it has not been the

subject of any Order permitting such ex parte filing. The Defendant relied upon the Declaration

in support of her motion to continue, which remains pending. Moreover, it appears the Declaration

contains information relative to the Defendant’s 18 U.S.C. § 3553(a) sentencing factors. The

government is entitled to the Declaration in connection with the pending motion and also because

it seemingly contains sentencing information, which the Court may consider when fashioning a

sentence. It should also be noted that the government has not received the Defendant’s sentencing

memorandum, which was due to be filed on December 18, 2019.

       WHEREFORE, the government respectfully requests a copy of the Declaration submitted

in support of Sunrise Lee’s Motion to Continue Sentencing.
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                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

Date: December 20, 2019                       By:      /s/ David G. Lazarus
                                                      DAVID G. LAZARUS, BBO # 624907
                                                      K. NATHANIEL YEAGER
                                                      FRED M. WYSHAK, JR.
                                                      Assistant United States Attorneys
                                                      1 Courthouse Way, Suite 9200
                                                      Boston, MA 02210
                                                      Tel. No. (617) 748-3373
                                                      Fax No. (617) 748-3972
                                                      David.Lazarus2@usdoj.gov




                                      Certificate of Service

       I hereby certify that the foregoing Motion was filed through the Electronic Case Filing
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing.
                                                      /s/ David G. Lazarus
                                                      DAVID G. LAZARUS
Dated: December 20, 2019                              Assistant U.S. Attorney




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